    Case 5:16-cv-01202-PSG-KK Document 9 Filed 07/28/16 Page 1 of 1 Page ID #:39
                                                                                              #8 (8/15 HRG OFF)
                                                                                              JS-6
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       ED CV 16-1202 PSG (KKx)                                     Date   July 28, 2016
 Title          Antonio Guerrero v. Synchrony Bank




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           Order GRANTING Defendant’s Motion and DISMISSING the
                                      Case WITH PREJUDICE

       Before the Court is Defendant Synchrony Bank’s motion to dismiss Plaintiff Antonio
Guerrero’s complaint. Dkt. #8. In the alternative Defendant requests a more definite statement.
Id. The Court finds the matter appropriate for decision without oral argument. See Fed. R. Civ.
P. 78(b); L.R. 7-15. After considering Defendant’s unopposed moving papers, the Court
GRANTS the motion to dismiss WITH PREJUDICE.

       The motion to dismiss is set for hearing on August 15, 2016. See Dkt. #8. As a result,
Plaintiff’s opposition brief was due by July 25, 2016. See L.R. 7-9. Plaintiff has not filed an
opposition. Accordingly, pursuant to Local Rule 7-12, the Court deems Plaintiff to have
consented to the motion. Plaintiff has not requested leave to amend. Thus, the Court will not
grant Plaintiff leave to amend his complaint.

      The Court therefore GRANTS the motion to dismiss WITH PREJUDICE. The case is
now closed.

         IT IS SO ORDERED.




CV-90 (10/08)                                CIVIL MINUTES - GENERAL                               Page 1 of 1
